                  Case 23-10961-BLS                  Doc 196         Filed 08/19/23            Page 1 of 18




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE



 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.1                                                Case No. 23-10961-BLS

                                                                    (Jointly Administered)
             Debtor.
                                                                    Related Docket Nos.: 33, 149


 ORDER (I) APPROVING BIDDING PROCEDURES FOR THE SALE OF DEBTORS’
  ASSETS, (II) SCHEDULING HEARINGS AND OBJECTION DEADLINES WITH
RESPECT TO THE SALE, (III) SCHEDULING BID DEADLINES AND AN AUCTION,
    (IV) APPROVING THE FORM AND MANNER OF NOTICE THEREOF, (V)
APPROVING ASSUMPTION AND ASSIGNMENT PROCEDURES FOR EXECUTORY
 CONTRACTS AND UNEXPIRED LEASES, (VI) AUTHORIZING AND APPROVING
THE DEBTORS’ ENTRY INTO THE STALKING HORSE APA, (VII) AUTHORIZING
AND APPROVING BID PROTECTIONS, AND (VIII) GRANTING RELATED RELIEF

          This matter is before the Court on the motion (“Motion”)2 [D.I. 33] of the above captioned

debtors and debtors in possession (collectively, the “Debtors”) for the entry of an order (“Order”):

(a) approving the proposed bidding procedures attached as Exhibit 1 to this Order (“Bidding

Procedures”); (b) scheduling an Auction (“Auction”); (c) approving the form and manner of notice

thereof; (d) scheduling dates and deadlines in connection with the Sale of the Assets; (e) approving

the form and manner of notice thereof; (f) approving procedures for assuming and assigning the

Debtors’ executory contracts and unexpired leases (“Assumption and Assignment Procedures”);

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the Motion, the Stalking

Horse APA, or the Bidding Procedures, as applicable.



00056818.5
              Case 23-10961-BLS         Doc 196      Filed 08/19/23     Page 2 of 18




(g) authorizing and approving the Debtors’ entry into the Stalking Horse APA, (h) authorizing and

approving the Break-Up Fee and Buyer Expense Reimbursement (as described in more detail in

the Stalking Horse APA and Bidding Procedures, the “Bid Protections”), and (i) granting related

relief; all as more fully set forth in the Motion; and upon the First Day Declaration; and certain

objections (collectively, the “Bidding Procedures Objections”) having been filed with respect to

the motion, including the Objection filed by the Office of the United States Trustee (Docket No.

149) (the “Trustee Objection”); and the Court having held hearings on the Motion and the Sale

Objections on August 17, 2023, and August 18, 2023 (collectively, the “Bidding Procedures

Hearings”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this

Court having found that it may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this court having reviewed the Motion and having heard the

statements in support of the relief requested therein at the Bidding Procedures Hearings; and this

court having determined that the legal and factual bases set forth in the Motion and at the Bidding

Procedures Hearings establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, THE COURT FINDS THAT:




00056818.5                                       2
              Case 23-10961-BLS         Doc 196      Filed 08/19/23     Page 3 of 18




         A.    The findings of fact and conclusions of law herein constitute the court’s findings of

fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable pursuant

to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are

adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

such.

         B.    This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Venue in this court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         C.    The statutory bases for the relief requested in the Motion are sections 105, 363, 365,

and 503 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-

1.

         D.    Notice of the Motion, the Bidding Procedures Hearings, and the proposed entry of

this Order was adequate and sufficient under the circumstances of these chapter 11 cases, and such

notice complied with all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules. Notice of the Motion has been given to: (a) the Office of the United States

Trustee for the District of Delaware; (b) the Official Committee of Unsecured Creditors (the

“Committee”); (c) the Debtors’ thirty (30) largest unsecured creditors; (d) counsel to the Stalking

Horse Bidder; (e) counsel to the administrative agents for the Debtors’ prepetition and postpetition

credit facilities; (f) the Internal Revenue Service; (g) the Georgia Department of Revenue; (h) the

Delaware Division of Revenue; (i) the United States Attorney for the District of Delaware; (j) the

Securities and Exchange Commission; (k) the state attorneys general for states in which the

Debtors conduct business; and (l) any party that has requested notice pursuant to Bankruptcy Rule

2002.




00056818.5                                       3
                Case 23-10961-BLS         Doc 196          Filed 08/19/23   Page 4 of 18




         E.      The Debtors have articulated good and sufficient reasons for this Court to:

(a) approve the Bidding Procedures; (b) schedule the Bid Deadline, the Auction, the Sale Objection

Deadline, and the Sale Hearing; (c) approve the form of the Sale Notice attached hereto as Exhibit

2; (d) approve the Assumption and Assignment Procedures and the form and manner of notice of

the Cure Notice attached hereto as Exhibit 3; and (e) grant related relief.

         F.      The Bidding Procedures are reasonable and appropriate and represent the best

available method for maximizing value for the benefit of the Debtors’ estates. The Bidding

Procedures balance the Debtors’ interests in emerging expeditiously from the chapter 11 cases

while preserving the opportunity to attract value-maximizing proposals beneficial to the Debtors’

estates, their creditors, and other parties in interest.

         G.      The Sale Notice is appropriate and reasonably calculated to provide all interested

parties with timely and proper notice of the Auction.

         H.      The Cure Notice is appropriate and reasonably calculated to provide all interested

parties with timely and proper notice of the Assumption and Assignment Procedures.

         I.      The Stalking Horse APA represents the highest and otherwise best offer the Debtors

have received to date to purchase the Assets designated for purchase thereunder. The Stalking

Horse APA provides the Debtors with the opportunity to sell such Assets in a manner designed to

preserve and maximize their value and provides a floor for a further marketing and auction process.

Without the Stalking Horse APA, the Debtors are at a significant risk of realizing a lower price for

their Assets.

         J.      Good and sufficient business reasons exist for the Court to authorize the Debtors to

enter into the Stalking Horse APA in accordance with the terms of this Order and the Bidding

Procedures.




00056818.5                                          4
                Case 23-10961-BLS       Doc 196      Filed 08/19/23    Page 5 of 18




           K.    The Bid Protections as set forth in Section 8.01 of the Stalking Horse APA to be

paid under the circumstances described therein to the Stalking Horse Bidder are: (1) an actual and

necessary cost of preserving the value of the respective Debtors’ estates within the meaning of

section 503(b) of the Bankruptcy Code; (2) commensurate to the real and substantial benefits

conferred upon the Debtors’ estates by the Stalking Horse Bidder; and (3) reasonable and

appropriate in light of the size and nature of the proposed Sale and comparable transactions, the

commitments and accommodations of the Stalking Horse Bidder that have been made for the

benefit of the Debtors’ estates, and the efforts that have been and will be expanded by the Stalking

Horse Bidder.

           L.    The Bid Protections are the product of negotiations between the Debtors and the

Stalking Horse Bidder conducted in good faith and at arm’s length, and the Stalking Horse APA

(including the Bid Protections) is the culmination of a process undertaken by the Debtors and their

professionals to negotiate a transaction with a bidder who was prepared to pay the highest or

otherwise best purchase price for the Transferred Assets to maximize the value of the Debtors’

estates.

           M.    The Bid Protections are an essential and material inducement and express condition

of the Stalking Horse Bidder’s entry into, and continuing obligations under, the Stalking Horse

APA. Unless it is assured that the Bid Protections will be available, the Stalking Horse Bidder is

unwilling to remain obligated to consummate the Sale or otherwise be bound under the Stalking

Horse APA (including the Stalking Horse Bidder’s obligation to maintain its committed offer

while such offer is subject to higher and/or otherwise better offers as contemplated by the Bidding

Procedures). The Bid Protections have induced the Stalking Horse Bidder to submit a bid that will

serve as a minimum or floor bid for the Transferred Assets on which the Debtors, their creditors




00056818.5                                       5
              Case 23-10961-BLS         Doc 196      Filed 08/19/23    Page 6 of 18




and other bidders can rely, and which encourages and facilitates the Auction process. The Stalking

Horse Bidder has thus provided a material benefit to the Debtors, their estates and creditors by

increasing the likelihood that the best possible purchase price for the Transferred Assets will be

realized. Accordingly, the Bid Protections are fair, reasonable and appropriate, and necessary to

facilitate a competitive, value-maximizing Sale for the benefit of the Debtors’ estates.

         N.     The Stalking Horse Bidder is not an “insider” or “affiliate” of any of the Debtors,

as those terms are defined in section 101 of the Bankruptcy Code, and no common identity of

directors, officers or controlling stockholders exists among the Stalking Horse Bidder and the

Debtors. The Stalking Horse Bidder and its counsel and advisors have acted in “good faith” within

the meaning of section 363(m) of the Bankruptcy Code in connection with the Stalking Horse

Bidder’s negotiations of the Bid Protections and the Bidding Procedures and entry into the Stalking

Horse APA.

IT IS HEREBY ORDERED THAT:

         1.     The Motion is granted as provided herein.

         2.     The Bidding Protections Objections, other than the Trustee Objection, that have not

been withdrawn, waived, or settled as announced to the Court at the Bidding Procedures Hearing

or by stipulation filed with the Court, are overruled. The Trustee Objection is overruled in part

and sustained in part.

I.       Important Dates and Deadlines.

         3.     The following dates and deadlines are hereby approved (and may be amended from

time to time by the Debtors in consultation with the Consultation Parties (as defined in the Bidding

Procedures)) by filing an appropriate notice on the Court’s docket and posting such notice on the

Case Website.




00056818.5                                       6
              Case 23-10961-BLS         Doc 196      Filed 08/19/23     Page 7 of 18




         4.    Unless extended by the Debtors, in consultation with the Consultation Parties, the

deadline by which all bids for the Assets must be actually received by the parties specified in the

Bidding Procedures is August 29, 2023, at 5:00 p.m. (prevailing Eastern Time).

         5.    In accordance with Local Rule 6004-1(c)(ii)(A), the date and time of the Auction,

if needed, is August 31, 2023 at 10:00 a.m. (prevailing Eastern Time), which time may be extended

by the Debtors, in consultation with the Consultation Parties, upon written notice filed with the

Court, to be held at the offices of Chipman Brown Cicero & Cole, LLP, Hercules Plaza, 1512 N.

Market Street, Suite 5400, Wilmington, DE 19801 and/or virtually. The Debtors shall provide

written notice of the date, time, and place of the Auction to Qualified Bidders no later than two (2)

days before such Auction, and shall post notice of the same no later than two (2) days before such

Auction on the Case Website.

         6.    In accordance with Local Rule 6004-1(c)(ii)(B), each bidder participating at the

Auction will be required to confirm that it has not engaged in any collusion with respect to the

bidding or the Sale.

         7.    In accordance with Local Rule 6004-1(c)(ii)(C), the Auction will be conducted

openly. Representatives of the Qualified Bidders, the Debtors, and the Consultation Parties shall

be permitted to attend the Auction in person. All other parties permitted to attend by the

Bankruptcy Code, the Bankruptcy Rules, or the Local Rules may attend virtually pursuant to

procedures to be provided upon request as set forth in the Bidding Procedures.

         8.    In accordance with Local Rule 6004-1(c)(ii)(D), bidding at the Auction will be

transcribed or videotaped.

         9.    If the Debtors do not receive a Qualified Bid with respect to the Transferred Assets

other than the Stalking Horse Bid (as defined in the Bidding Procedures), the Debtors will not hold




00056818.5                                       7
               Case 23-10961-BLS         Doc 196      Filed 08/19/23     Page 8 of 18




the Auction and the Stalking Horse Bidder shall be deemed the Successful Bidder upon the Bid

Deadline with respect to the Transferred Assets. If the Debtors receive one or more Qualified Bids

with respect to the Transferred Assets in addition to the Stalking Horse Bid, the Debtors will

conduct the Auction for the Transferred Assets.

         10.    In the event of a competing Qualified Bid with respect to the Transferred Assets,

the Stalking Horse Bidder shall be entitled, but not obligated, to submit subsequent bids and shall

be entitled, but not obligated, in any and all such subsequent bids to credit bid the full amount of

the Bid Protections in lieu of cash, and for purposes of evaluating the subsequent bid, the full

amount of such Bid Protections shall be treated as equal to cash in the same amount.

         11.    The deadline to object to approval of the Sale (“Sale Objection Deadline”) is set for

September 5, 2023 at 5:00 p.m. (prevailing Eastern Time). Any objections to the Sale (a “Sale

Objection”) must (a) be in writing, (b) state the basis of such objection with specificity, (c) conform

to the Bankruptcy Rules and the Local Rules and (d) be filed with the Bankruptcy Court and served

upon the following parties so as to be received not later than the Sale Objection Deadline: (i)

proposed counsel for the Debtors, Thompson Hine LLP, 3900 Key Center, 127 Public Square,

Cleveland, OH 44114-1291 (Attn: Alan R. Lepene (alan.lepene@thompsonhine.com) and Sean A.

Gordon (sean.gordon@thompsonhine.com)), and Chipman Brown Cicero & Cole, LLP, Hercules

Plaza, 1313 N. Market Street, Suite 5400, Wilmington, DE 19801 (Attn: Mark L. Desgrosseilliers

(desgross@chipmanbrown.com)); (ii) counsel for the Stalking Horse Bidder, Ropes & Gray LLP,

1211 Avenue of the Americas, New York, NY 10036 (Attn: Matthew M. Roose, Esq.

(matthew.roose@ropesgray.com) and Daniel G. Egan (daniel.egan@ropesgray.com)), and

Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE 19899

(Attn: Laura Davis Jones (ljones@pszjlaw.com)); (iii) proposed counsel for the Committee,




00056818.5                                        8
               Case 23-10961-BLS        Doc 196       Filed 08/19/23    Page 9 of 18




Lowenstein Sandler LLP, 1251 Avenue of the America, New York, NY 10020 (Attn: Jeffrey

Cohen, Esq. (jcohen@lowenstein.com), Eric Chafetz, Esq. (echafetz@lowenstein.com), and

Phillip Khezri, Esq. (pkhezri@lowenstein.com)); (iv) counsel for any Additional Stalking Horse

Bidder; (v) counsel for the Revolving Agents, Blank Rome LLP, 1201 Market Street, Suite 800

Wilmington, DE 19801 (Attn: Regina S. Kelbon (regina.kelbon@blankrome.com) and Gregory F.

Vizza (gregory.vizza@blankrome.com)); (vi) counsel for the Term Agents, Chapman and Cutler

LLP, 1270 Avenue of the Americas, New York, NY 10020 (Attn: David T.B. Audley

(audley@chapman.com) and Carey J. Gaughan (gaughan@chapman.com)); and (vii) the Office of

the United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, DE 19801 (Attn: Joseph Cudia (joseph.cudia@usdoj.gov)). Any party failing to

timely file a Sale Objection by the Sale Objection Deadline shall be forever barred from objecting

and shall be deemed to have consented to the Sale, including the transfer of the Debtors’ right, title

and interest in, to, and under the Transferred Assets free and clear of any and all Liens, Claims,

Interests, and other Liabilities in accordance with the Stalking Horse APA or other definitive

agreement with respect to the Sale.

         12.    The hearing to consider approval of the Sale (“Sale Hearing”) will take place on

September 7, 2023, at 2:00 p.m. (prevailing Eastern Time) at the United States Federal Courthouse

824 North Market Street, 6th Floor, Wilmington, DE 19801. Information regarding attending the

Sale Hearing viz zoom or other remote means, if applicable, may be obtained from the Court’s

website (www.deb.uscourts.gov).

         13.    Any request by a Potential Bidder for modification of the deadlines set forth in this

Order or set forth in the Bidding Procedures shall be considered in good faith by the Debtors, and

in consultation with the Consultation Parties. The Debtors consent to the Court’s consideration of




00056818.5                                        9
               Case 23-10961-BLS        Doc 196       Filed 08/19/23    Page 10 of 18




any such modification requests filed by the Committee or otherwise, if necessary, on an expedited

basis.

II.      The Bidding Procedures.

         14.    The Bidding Procedures are hereby approved in their entirety, and the Bidding

Procedures shall govern the submission, receipt, and analysis of all bids relating to the proposed

sale of the Assets. Any party desiring to bid for all or a portion of the Assets shall comply with the

Bidding Procedures and this Order. The Debtors are authorized to take any and all actions

necessary to implement the Bidding Procedures.

         15.    The Debtors are deemed to have complied with all contractual rights of first

refusals, or similar contractual purchasing rights, regarding the Assets. The Bidding Procedures

and the notice thereof provide all parties in interest with notice of, and the opportunity to

participate in, any potential Sale and/or Auction.

III.     Stalking Horse Bidder, Bid Protections, and Stalking Horse APA.

         16.    The Debtors’ entry into the Stalking Horse APA is authorized, subject to higher

and/or better offers at the Auction regarding the Transferred Assets in accordance with the Bidding

Procedures.

         17.    The Debtors are authorized to perform all obligations of the Debtors set forth in the

Stalking Horse APA that are intended to be performed prior to the Sale Hearing and prior to the

entry of the Sale Order, subject to the terms of the Bidding Procedures.

         18.    The Bid Protections for the Stalking Horse Bidder are approved in their entirety;

provided, however, that notwithstanding anything to the contrary in this Order or the Motion, the

Bid Protections, if payable, shall be paid by the Prepetition Term Lenders in accordance with the

ruling of this Court at the Bidding Procedures Hearings, and the Prepetition Term Lenders are




00056818.5                                       10
             Case 23-10961-BLS         Doc 196       Filed 08/19/23   Page 11 of 18




authorized to pay any amounts that may become due to the Stalking Horse Bidder on account of

the Bid Protections on the terms set forth in the Stalking Horse APA, subject to any modification

set forth herein. The Stalking Horse Bidder shall be granted allowed administrative expense claims

under sections 503(b)(1) and 507(a)(2) of the Bankruptcy Code in an amount equal to the Break-

Up Fee and the Buyer Expense Reimbursement to the extent they become due in accordance with

the terms of the Stalking Horse APA, which (if triggered) shall be payable solely upon

consummation of a Competing Transaction, notwithstanding anything in the Stalking Horse APA;

provided, however, that upon payment by the Prepetition Term Lenders as set forth herein, such

claims shall be of no force or effect. The Break-Up Fee shall be paid in full solely upon

consummation of a Competing Transaction without any further action, application, or order of the

Court. After consummation of a Competing Transaction, the Stalking Horse Bidder shall provide

to counsel to the Debtors, counsel to the Committee, counsel for the Prepetition Term Lenders and

the U.S. Trustee copies of invoices with respect to the costs and expenses comprising the Buyer

Expense Reimbursement (which shall not be required to contain time entries, but shall include a

general, brief description of the nature of the matters for which services were performed, and which

may be redacted or modified to the extent necessary to delete any information subject to the

attorney-client privilege, any information constituting attorney work product or any other

confidential information, and the provision of such invoices shall not constitute any waiver of the

attorney-client privilege or of any benefits of the attorney work product doctrine). The Debtors,

the Committee, the Prepetition Term Lenders and the U.S. Trustee shall have ten (10) days from

receipt to review the summary legal invoices, and (a) in the event the Debtors, the Committee, the

Prepetition Term Lenders or the U.S. Trustee files with this Court an objection to any such invoice

within ten (10) days of its receipt thereof, the undisputed portion of such invoice shall be paid




00056818.5                                      11
               Case 23-10961-BLS        Doc 196       Filed 08/19/23    Page 12 of 18




without further order of the Court whereas the portion of such legal invoice subject to such

objection shall not be paid until resolution of such objection by this Court and (b) in the event the

Debtors, the Committee, the Prepetition Term Lenders or the U.S. Trustee do not file with this

Court an objection to any such invoice within ten (10) days of its receipt thereof, such invoice shall

be paid without further order of the Court and shall not be subject to any further review, challenge,

or disgorgement.

         19.    Notwithstanding anything to the contrary in the Stalking Horse APA, the Break-Up

Fee shall be equal to 3% ($1,800,000) of the cash consideration provided by the Stalking Horse

Bidder under the Stalking Horse APA.

         20.    Notwithstanding anything to the contrary in the Stalking Horse APA, the Break-Up

Fee and Buyer Expense Reimbursement shall only be earned, and payable to the Stalking Horse

Bidder, solely upon consummation of a Competing Transaction, subject to the requirements set

forth in Paragraph 18 above and herein.

         21.    No person or entity, other than the Stalking Horse Bidder, shall be entitled to any

expense reimbursement, break-up fee, “topping,” or other similar fee or payment.

         22.    Any deposit provided by the Stalking Horse Bidder and all other Qualified Bidders

shall be held in escrow and shall not become property of the Debtors’ bankruptcy estates unless

and until released from escrow to the Debtors pursuant to the terms of the applicable escrow

agreement or order of this Court.

         23.    Notwithstanding anything to the contrary in the Stalking Horse APA or in

paragraphs 4(a) of the Transition Services Agreement and Reverse Transition Services Agreement,

subject to entry of the Sale Order, any claim of the Stalking Horse Bidder in respect of fees, costs,

and expenses payable under the Transition Services Agreement and Reverse Transition Services




00056818.5                                       12
               Case 23-10961-BLS        Doc 196        Filed 08/19/23   Page 13 of 18




Agreement shall constitute allowed administrative expense claims under sections 503(b)(1) and

507(a)(2) of the Bankruptcy Code.

         24.    Notwithstanding anything to the contrary in the Stalking Horse APA, under

Section 2.02(f)(xvi) of the Stalking Horse APA, any exclusion of liabilities referenced therein

shall only be to the extent permitted under applicable law.

IV.      Notice Procedures.

         25.    The form of Sale Notice attached hereto as Exhibit 2 is approved.

         26.    No later than two (2) business days after entry of the Bidding Procedures Order

(“Mailing Date”), the Debtors shall serve the Sale Notice, Bidding Procedures Order and Bidding

Procedures by first-class mail or courier service upon: (a) the Office of the United States Trustee

for the District of Delaware; (b) counsel to the Committee; (c) the Debtors’ thirty (30) largest

unsecured creditors; (d) counsel to the administrative agents for the Debtors’ prepetition and

postpetition credit facilities, (e) all parties who have expressed a written interest in some or all of

the Debtors’ assets; (f) all parties who are known or reasonably believed, after reasonable inquiry,

to have asserted any lien, encumbrance, claim or other interest in the Debtors’ assets’ (g) the

Internal Revenue Service; (h) the Georgia Department of Revenue; (i) the Delaware Division of

Revenue; (j) the United States Attorney for the District of Delaware; (k) the Securities and

Exchange Commission; (l) the state attorneys general for states in which the Debtors conduct

business; (m) all non-Debtor parties to the Debtors’ executory contracts and unexpired leases, and

(n) any party that has requested notice pursuant to Bankruptcy Rule 2002.

         27.    Additionally, within five days after entry of this Order, or as soon as reasonably

practicable thereafter, the Debtors shall publish a notice, setting forth the information contained in

the Sale Notice, on one occasion, in The New York Times. Such publication notice shall be deemed




00056818.5                                        13
                Case 23-10961-BLS         Doc 196        Filed 08/19/23   Page 14 of 18




sufficient and proper notice of the Sale to any other interested parties whose identities are unknown

to the Debtors.

V.       The Assumption and Assignment Procedures.

         28.      The Assumption and Assignment Procedures set forth in the Motion regarding the

assumption and assignment of the Assigned Contracts proposed to be assumed by the Debtors and

assigned to the Successful Bidder are approved.

               1. Cure Notice. On or prior to the Mailing Date the Debtors shall file with the Court
                  and serve via first class mail, electronic mail, or overnight delivery, the Cure
                  Notice, which shall contain the Instructions and the Necessary Notice Information,
                  on all Contract Counterparties and all parties that have requested notice pursuant to
                  Bankruptcy Rule 2002, and post the Cure Notice to the Case Website. Service as
                  set forth herein shall be deemed proper, timely, good, and sufficient notice and no
                  other or further notice is necessary.

               2. Content of Cure Notice. The Cure Notice shall notify the applicable Contract
                  Counterparties that the Assigned Contracts may be subject to assumption and
                  assignment in connection with a proposed sale transaction, and contain the
                  following information: (i) a list of the Assigned Contracts; (ii) the applicable
                  Contract Counterparties; (iii) the Debtors’ good faith estimates of the Cure Costs;
                  and (iv) the deadline by which any Contract Counterparty to an Assigned Contract
                  may file an objection to the proposed assumption, assignment, cure, and/or
                  adequate assurance and the procedures relating thereto; provided that service of a
                  Cure Notice does not constitute an admission that such Assigned Contract is an
                  executory contract or unexpired lease or that such Assigned Contract will be
                  assumed at any point by the Debtors or assumed and assigned pursuant to any
                  Successful Bid. A form of Cure Notice is attached hereto as Exhibit 3.

               3. Objections. Objections, if any, to a Cure Notice must: (i) be in writing; (ii) comply
                  with the applicable provisions of the Bankruptcy Rules, the Court’s Local Rules,
                  and any order governing the administration of these chapter 11 cases; (iii) state with
                  specificity the nature of the objection and, if the objection pertains to the proposed
                  Cure Costs, state the cure amount alleged to be owed to the objecting Contract
                  Counterparty, together with any applicable and appropriate documentation in
                  support thereof; and (iv) be filed with the Court and served so as to be actually
                  received by proposed counsel for the Debtors, Thompson Hine LLP, 3900 Key
                  Center, 127 Public Square, Cleveland, OH 44114-1291 (Attn: Alan R. Lepene
                  (alan.lepene@thompsonhine.com)             and          Sean         A.        Gordon
                  (sean.gordon@thompsonhine.com)), and Chipman Brown Cicero & Cole, LLP,
                  Hercules Plaza, 1313 N. Market Street, Suite 5400, Wilmington, DE 19801 (Attn:
                  Mark L. Desgrosseilliers (desgross@chipmanbrown.com)) and (b) counsel for the
                  Stalking Horse Bidder, Ropes & Gray LLP, 1211 Avenue of the Americas, New


00056818.5                                          14
              Case 23-10961-BLS         Doc 196        Filed 08/19/23   Page 15 of 18




                York, NY 10036 (Attn: Matthew M. Roose, Esq. (matthew.roose@ropesgray.com)
                and Daniel G. Egan (daniel.egan@ropesgray.com)), and Pachulski Stang Ziehl &
                Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE 19899 (Attn:
                Laura Davis Jones (ljones@pszjlaw.com)) 5:00 p.m. (prevailing Eastern Time) on
                the date fourteen (14) days after service of the Cure Notice.

             4. Dispute Resolution. Any objection to the proposed assumption and assignment of
                an Assigned Contract, or Cure Costs, that remain unresolved as of the Sale Hearing,
                shall be heard at the Sale Hearing (or at such later date as may be fixed by the
                Court). Upon entry of an order by the Court resolving such Assigned Contract
                Objection, the assignment, if approved by the Court, shall be deemed effective as
                of the closing date of the sale transactions. To the extent that any Assigned Contract
                Objection cannot be resolved by the parties, such Assigned Contract shall be
                assumed and assigned only upon satisfactory resolution of the Assigned Contract
                Objection, to be determined in the Stalking Horse Bidder’s or other Successful
                Bidder’s reasonable discretion. To the extent an Assigned Contract Objection
                remains unresolved, the Assigned Contract may be conditionally assumed and
                assigned, subject to the consent of the Stalking Horse Bidder or other Successful
                Bidder, pending a resolution of the Assigned Contract Objection after notice and a
                hearing. If an Assigned Contract Objection is not satisfactorily resolved, the
                Stalking Horse Bidder or other Successful Bidder may determine that such
                Assigned Contract should be rejected and not assigned, in which case the Stalking
                Horse Bidder or other Successful Bidder will not be responsible for any Cure Costs
                in respect of such contract.

             5. Supplemental Cure Notice. The Debtors reserve the right, with the consent of the
                Stalking Horse Bidder or Successful Bidder, as applicable, at any time after the
                Assumption and Assignment Service Date, to: (i) supplement the Assigned
                Contract Schedule attached to the Cure Notice with previously omitted Assigned
                Contracts in accordance with the definitive agreement for a Sale; (ii) remove any
                Assigned Contracts from the list of executory contracts and unexpired leases
                ultimately selected as Assigned Contracts that the Successful Bidder proposes be
                assumed and assigned to it in connection with a Sale or add to such list; and/or (iii)
                modify the previously stated Cure Cost associated with any Assigned Contracts
                (“Supplemental Assigned Contracts Schedule”). In the event that the Debtors
                exercise any of the rights reserved above, the Debtors will serve a Supplemental
                Cure Notice by electronic transmission, hand delivery, or overnight mail on the
                applicable Contract Counterparty, and its counsel, if known, to each impacted
                Assigned Contract at the last known address available to the Debtors. Each
                Supplemental Cure Notice will include the same information with respect to listed
                Assigned Contracts as was included in the Cure Notice. Any Assigned Contract
                Counterparty listed on a Supplemental Cure Notice may file a Supplemental
                Assigned Contract Objection only if such objection is to the proposed assumption
                and assignment of the applicable Assigned Contract or the proposed Cure Costs, if
                any. All Supplemental Assigned Contract Objections must: (x) state with
                specificity the legal and factual basis thereof as well as what Cure Costs the
                objecting party believes are required, if any; (y) include appropriate documentation


00056818.5                                        15
                Case 23-10961-BLS         Doc 196        Filed 08/19/23   Page 16 of 18




                  in support of the objection; and (z) be filed and served on counsel for the Debtors
                  no later than 5:00 p.m. (prevailing Eastern Time) on the date that is the later of (i)
                  the Sale Objection Deadline and (ii) fourteen days from the date of service of such
                  Supplemental Cure Notice, which date will be set forth in the Supplemental Cure
                  Notice (“Supplemental Assigned Contract Objection Deadline”).

               6. Supplemental Hearing. If a Contract Counterparty files a Supplemental Assigned
                  Contract Objection in a manner that is consistent with the requirements set forth
                  above, and the parties are unable to consensually resolve the dispute, the Debtors
                  will seek a Supplemental Assigned Contract Hearing to determine the Cure Costs,
                  if any, and approve the assumption of the relevant Assigned Contracts. If there is
                  no such objection, then the Debtors will obtain entry of an order, including by filing
                  a certification of no objection, fixing the Cure Costs and approving the assumption
                  of any Assigned Contract listed on a Supplemental Cure Notice.

         29.      If a Contract Counterparty does not file and serve an Assigned Contract Objection

or Supplemental Assigned Contract Objection in a manner that is consistent with the requirements

set forth above, and absent a subsequent order of the Court establishing an alternative Cure Cost,

(a) the Cure Costs, if any, set forth in the Cure Notice, or Supplemental Cure Notice, as applicable,

shall be binding and controlling, notwithstanding anything to the contrary in any Assigned

Contract or any other document, and shall be the only amounts necessary to be paid to cure all

monetary defaults pursuant to section 365(b) of the Bankruptcy Code under such Assigned

Contracts, to the extent the Stalking Horse Bidder (or other Successful Bidder) ultimately decides

to have the applicable Assigned Contract assumed and assigned to it, and (b) the Contract

Counterparty will be deemed to have consented to the assumption and assignment of the Assigned

Contract and the Cure Costs, if any, and will be forever barred from objecting to the assumption

and assignment of such Assigned Contract and rights thereunder, including the Cure Costs, if any,

and from asserting any other claims related to such Assigned Contract against the Debtors or the

Successful Bidder, or the property of any of them; provided, however, that a Contract Counterparty

shall not be barred from seeking additional amounts on account of any defaults occurring between

the service of the Cure Notice and the assumption of the relevant contract.



00056818.5                                          16
               Case 23-10961-BLS       Doc 196       Filed 08/19/23   Page 17 of 18




         30.    Any objections to the Successful Bidder’s proposed form of adequate assurance of

future performance must be filed no later than the later of the Sale Objection Deadline or

Supplemental Assigned Contract Objection Deadline, as applicable, and such objections will be

resolved at the Sale Hearing or Supplemental Assigned Contract Hearing, as applicable. The

Debtors may adjourn the resolution of any such objection to a later hearing.

         31.    The inclusion of an Assigned Contract on the Assigned Contract Schedule,

Supplemental Assigned Contract Schedule, and/or in a Supplemental Cure Notice will not: (a)

obligate the Debtors to assume any Assigned Contract listed thereon or obligate the Successful

Bidder to take assignment of such Assigned Contract; or (b) constitute any admission or agreement

of the Debtors that such Assigned Contract is an executory contract or unexpired lease. Only those

Assigned Contracts that are included on a schedule of assumed and assigned contracts attached to

the definitive sale agreement with the Successful Bidder (including amendments or modifications

to such schedules in accordance with such agreement) will be assumed and assigned to the

Successful Bidder.

         32.    Notwithstanding anything to the contrary in this Order, unless Cigna Health and

Life Insurance Company (“Cigna”) and the Debtors agree otherwise, the Debtors shall provide to

Cigna, through its counsel of record, no later than two (2) business days prior to the Sale Hearing,

subject to extension upon agreement of the parties, written notice of Debtors’ irrevocable (subject

to closing of the proposed Sale) decision as to whether or not the Debtors propose to assume and

assign the Cigna Policies to the Successful Bidder as part of the proposed Sale. This resolves

Cigna’s Objection [D.I. 142] to Debtors’ Motion.




00056818.5                                      17
               Case 23-10961-BLS        Doc 196       Filed 08/19/23    Page 18 of 18




VI.      Miscellaneous.

         33.    The failure to include or reference a particular provision of the Bidding Procedures

specifically in this Order shall not diminish or impair the effectiveness or enforceability of such

provision.

         34.    In the event of any inconsistency between this Order and the Motion and/or the

Bidding Procedures, this Order shall govern in all respects.

         35.    The Debtors, subject to the terms of this Order and the Bidding Procedures, are

authorized to take all actions necessary to effectuate the relief granted pursuant to this Order.

         36.    All persons and entities that participate in the bidding process or the Auction shall

be deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction of this Court

with respect to all matters related to the terms and conditions of the transfer of the Transferred

Assets, the Auction, and Sale.

         37.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

         38.    The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         39.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




 Dated: August 19th, 2023                         BRENDAN L. SHANNON
 Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




00056818.5                                       18
